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June 26, 2020

Honorable Vernon S. Broderick
United State District Court
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     United States v. Richard Hart
               17-cr-248 (VSB)

Dear Judge Broderick:

       The defense writes to update the Court on an issue pertinent to Mr. Hart’s motion
for compassionate release.

         On June 25, 2020, the Centers for Disease Control and Prevention (CDC)
updated the list of underlying medical conditions that put individuals at increased risk for
severe illness from COVID-19. The CDC states that, “[p]eople of any age” are at higher
risk if they have certain underlying medical conditions. The CDC has identified two
categories. The first, “are at increased risk”. The second, “might be at an increased
risk”. Under this second category both asthma (moderate to severe) and “hypertension
or high blood pressure” are specifically listed. See
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html#serious-heart-conditions (Last visited June 26, 2020). 1




                                                        Respectfully submitted,


                                                        ______/S/________
                                                        Jacob B. Mitchell
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1   The CDC cites the following scientific evidence:

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Subjects With Coronavirus Disease 2019 from a Nationwide Analysis in China. CHEST; Williamson, E., et
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al., Characteristics Associated with Hospitalization Among Patients with COVID-19 — Metropolitan
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al., Comorbidity and its impact on 1590 patients with COVID-19 in China: a nationwide
analysis. European Respiratory Journal, 2020. 55(5); Kim, L., et al., Interim Analysis of Risk Factors for
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Matsushita, K., et al., The relationship of COVID-19 severity with cardiovascular disease and its traditional
risk factors: A systematic review and meta-analysis. medRxiv, 2020: p. 2020.04.05.20054155; Zheng, Z.,
et al., Risk factors of critical & mortal COVID-19 cases: A systematic literature review and meta-
analysis. Journal of Infection, 2020; Yang, J., et al., Prevalence of comorbidities and its effects in patients
infected with SARS-CoV-2: a systematic review and meta-analysis. International Journal of Infectious
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Asthma, Gold, J.A.W., et al., Characteristics and Clinical Outcomes of Adult Patients Hospitalized with
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Mahdavinia, M., et al., Asthma prolongs intubation in COVID-19. The journal of allergy and clinical
immunology. In practice, 2020: p. S2213-2198(20)30476-1; Chao, J.Y., et al., Clinical Characteristics and
Outcomes of Hospitalized and Critically Ill Children and Adolescents with Coronavirus Disease 2019
(COVID-19) at a Tertiary Care Medical Center in New York City. The Journal of Pediatrics, 2020; DeBiasi,
R.L., et al., Severe COVID-19 in Children and Young Adults in the Washington, DC Metropolitan
Region. The Journal of Pediatrics, 2020; CDC Covid-19 Response Team, Preliminary Estimates of the
Prevalence of Selected Underlying Health Conditions Among Patients with Coronavirus Disease 2019 –
United States, February 12-March 28, 2020. MMWR Morbidity Mortality Weekly Report, 2020. 69(13): p.
382-386.
